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 7
                      IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE DISTRICT OF ARIZONA
 9
     Stephanie Morrissey,                          CASE NO. 2:20-CV-02345-CDB
10
                  Plaintiff,
11
           v.                                      STIPULATION OF DISMISSAL
12                                                 WITHOUT PREJUDICE AND
     Santander Consumer USA Inc.                   [PROPOSED] ORDER
13
                  Defendant.                       Complaint Filed: December 4, 2020
14
15
           Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Stephanie
16
     Morrissey (“Plaintiff”) and Defendant Santander Consumer USA Inc. (“SC”)
17
     (collectively, the “Parties”) hereby stipulate that all individual claims of Plaintiff in
18
     this action against SC, including all claims asserted against SC in Plaintiff’s
19
     Complaint, are dismissed without prejudice as to SC, with the Parties to bear their
20
     own fees and costs. Further, the Parties previously agreed to arbitrate Plaintiff’s
21
     claim against SC in accordance with the arbitration provision within the Retail
22
     Installment Sales Contract (“RISC”), and are therefore dismissing this action
23
     without prejudice on that basis.
24
25         DATED this 10th day of February, 2021.

26
27     /s/ Trinette G. Kent                    /s/ Blaec C. Croft
      Trinette G. Kent (State Bar No. 025180) Blaec C. Croft
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